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                                      U.S. Department of Justice
                                      United States Attorney
                                      District of New Jersey
CRAIG CARPENITO                       CAMDEN FEDERAL BUILDING & U.S. COURTHOUSE    856.757.5164
United States Attorney                401 Market Street, 4th Floor             Fax 856.968.4917
                                      Post Office Box 2098
R. DAVID WALK, JR.                    Camden New Jersey 08101-2098
Assistant United States Attorney



                                      May 1, 2020

Charles B. McKenna, Esquire
Riker Danzig Scherer Hyland & Perretti LLP
One Speedwell Avenue
Morristown, NJ 07962-1981

           Re: Plea Agreement with William Hickman

Dear Mr. McKenna:

       This letter sets forth the plea agreement between your client, William
Hickman, and the United States Attorney for the District of New Jersey (“this
Office”). The government’s offer to enter into this plea agreement will expire on
May 14, 2020, if it is not accepted in writing by that date.

Charge

       Conditioned on the understandings specified below, this Office will
accept a guilty plea from William Hickman to Count 1 and Count 28 of the
Indictment in Crim. No. 19-191 (RBK), which charges him in Count 1 with
knowingly and willfully conspiring to commit wire fraud and health care fraud,
contrary to Title 18, United States Code, Sections 1343 and 1347, in violation
of Title 18, United States Code, Section 1349, and charges him in Count 28
with knowingly conspiring to engage in monetary transactions in criminal
derived property of a value greater than $10,000 and derived from specified
unlawful activity, contrary to Title 18, United States Code, Section 1957, and in
violation of Title 18, United States Code, Section 1956. If William Hickman
enters a guilty plea and is sentenced on these charges, and otherwise fully
complies with all of the terms of this agreement, this Office will not initiate any
further criminal charges against William Hickman for the unlawful obtaining
and filling of compounded prescriptions during the time period from July 2014
through April 2016 and for engaging in monetary transactions with property
derived from that unlawful activity. In addition, if William Hickman fully
complies with all of the terms of this agreement, at the time of sentencing in
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this matter, this Office will move to dismiss Counts 2-27, 29-36, and 39-48 of
the Indictment, Crim. No. 19-191 (RBK). However, in the event that a guilty
plea in this matter is not entered for any reason or the judgment of conviction
entered as a result of this guilty plea does not remain in full force and effect,
William Hickman agrees that any dismissed charges and any other charges
that are not time-barred by the applicable statute of limitations on the date
this agreement is signed by William Hickman may be commenced against him,
notwithstanding the expiration of the limitations period after William Hickman
signs the agreement.

Sentencing

      The violation of 18 U.S.C. § 1349 in Count 1 of the Indictment, to which
William Hickman agrees to plead guilty, carries a statutory maximum prison
sentence of 20 years and a statutory maximum fine equal to the greatest of (1)
$250,000, (2) twice the gross amount of any pecuniary gain that any persons
derived from the offense, or (3) twice the gross amount of any pecuniary loss
sustained by any victims of the offense. Fines imposed by the sentencing judge
may be subject to the payment of interest.

      The violation of 18 U.S.C. § 1956 in Count 28 of the Indictment, to which
William Hickman agrees to plead guilty, carries a statutory maximum prison
sentence of 10 years and a statutory maximum fine equal to the greatest of (1)
$250,000, (2) twice the gross amount of any pecuniary gain that any persons
derived from the offense, (3) twice the gross amount of any pecuniary loss
sustained by any victims of the offense, or (4) twice the amount of the
criminally derived property involved in the transaction. Fines imposed by the
sentencing judge may be subject to the payment of interest.

       The sentence to be imposed upon William Hickman is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence William Hickman
ultimately will receive.

      Further, in addition to imposing any other penalty on William Hickman,
the sentencing judge (1) will order William Hickman to pay an assessment of
$100 per count pursuant to 18 U.S.C. § 3013, which assessment must be paid
by the date of sentencing; (2) must order William Hickman to pay restitution
pursuant to 18 U.S.C. §§ 3663 et seq.; (3) may order William Hickman,
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pursuant to 18 U.S.C. § 3555, to give notice to any victims of his offenses; (4)
must order forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
§ 2461(c) and 18 U.S.C. § 982(a)(7), and 18 U.S.C. § 982(a)(1); and (5) pursuant
to 18 U.S.C. § 3583, may require William Hickman to serve a term of
supervised release of not more than three (3) years, which will begin at the
expiration of any term of imprisonment imposed. Should William Hickman be
placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, William
Hickman may be sentenced to not more than two (2) years’ imprisonment per
count, which may run consecutive, in addition to any prison term previously
imposed, regardless of the statutory maximum term of imprisonment set forth
above and without credit for time previously served on post-release
supervision, and may be sentenced to an additional term of supervised release.

Restitution Agreement

       In addition, William Hickman agrees to make full restitution for all losses
resulting from the offenses of conviction or from the scheme, conspiracy, or
pattern of criminal activity underlying the offenses. The calculation of the
losses resulting from the offenses of conviction is ongoing; however, the parties
agree that the loss figure is at least $53,037,639.20.

Forfeiture

       As part of his acceptance of responsibility, William Hickman agrees to
forfeit to the United States of America:

      (a)    As to Count 1, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
             § 2461(c), all property, real or personal, that constitutes or is
             derived from proceeds William Hickman obtained that is traceable
             to the conspiracy to commit wire fraud charged in Count 1 of the
             Indictment, which William Hickman agrees was approximately
             $26,241,326.93; and pursuant to 18 U.S.C. § 982(a)(7), all
             property, real or personal, William Hickman obtained that
             constitutes or is derived, directly and indirectly, from gross
             proceeds traceable to the conspiracy to commit federal health care
             fraud charged in Count 1 of the Indictment; and all property
             traceable to such property, which William Hickman agrees was
             approximately $26,241,326.93; and

      (b)    As to Count 28, pursuant to 18 U.S.C. § 982(a), all property, real
             or personal, involved in the money laundering conspiracy offense
             charged in Count 28 of the Indictment, and all property traceable
             to such property, which William Hickman agrees was
             approximately $26,241,326.93.
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       William Hickman further agrees that one or more of the conditions set
forth in 21 U.S.C. § 853(p) exists, and that the United States is therefore
entitled to forfeit substitute assets equal to the aggregate value of the
forfeitable property described above, in an amount not to exceed
$26,241,326.93 (the “Money Judgment”). William Hickman consents to the
entry of an order requiring the defendant to pay the Money Judgment, in the
manner described below (the “Order”), and that the Order will be final as to the
defendant prior to sentencing, pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, and which may be satisfied in whole or in part with
substitute assets.

       All payments made in full or partial satisfaction of the Money Judgment
shall be made by postal money order, bank, or certified check, made payable in
this instance to the United States Department of Treasury, indicating the
defendant’s name and case number on the face of the check; and shall be
delivered to the United States Attorney’s Office, District of New Jersey, Attn:
Asset Forfeiture and Money Laundering Unit, 970 Broad Street, 7th Floor,
Newark, New Jersey 07102. The defendant further agrees that upon entry of
the Order, the United States Attorney’s Office is authorized to conduct any
discovery needed to identify, locate, or dispose of property sufficient to pay the
Money Judgment in full or in connection with any petitions filed with regard to
proceeds or substitute assets, including depositions, interrogatories, and
requests for production of documents, and the issuance of subpoenas.

       William Hickman further agrees to forfeit, individually and on behalf of
his minor children, all right, title, and interest in the property listed on the
attached Schedule B, which William Hickman admits has the requisite nexus
to the offenses charged in Counts 1 and 28 of the Indictment and is therefore
forfeitable to the United States of America pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C. § 2461(c) and 18 U.S.C. § 982(a)(7), and 18 U.S.C. § 982(a)(1)
(the “Specific Property”). Any forfeited money and the net proceeds from the
disposition of the Specific Property will be applied to the Money Judgment, in
partial satisfaction thereof.

       William Hickman further consents to the administrative and/or civil
judicial forfeiture of the Specific Property pursuant to 18 U.S.C. §§ 981(a)(1)(C)
and (a)(1)(A). William Hickman agrees that he will not file a claim or a petition
for remission or mitigation in any forfeiture proceeding involving the Specific
Property and will not cause or assist anyone else in doing so. To the extent
William Hickman has filed a claim or petition in any administrative or civil
judicial forfeiture proceeding involving the Specific Property, such claims or
petitions are hereby deemed withdrawn. William Hickman further agrees to
take all necessary steps to pass clear title to the Specific Property to the United


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States, including, but not limited to, the surrender of such property to the U.S.
Department of Treasury and the execution of all necessary documentation.

       William Hickman further understands and agrees that his agreement to
forfeit and relinquish his interest in the Specific Property includes his
agreement on behalf of his minor children to forfeit and relinquish any interest
his minor children may have in the Specific Property.

       William Hickman hereby consents to the entry of preliminary orders of
forfeiture and orders for the interlocutory sale of the Specific Property pursuant
to Rule 32.2(b) of the Federal Rules of Criminal Procedure and/or
Supplemental Rule G(7) of the Supplemental Rules for Admiralty or Maritime
Claims and Asset Forfeiture Actions, Federal Rules of Civil Procedure, as the
United States Attorney’s Office may request. It is further agreed and
understood that the Post-Indictment Restraining Order signed March 13, 2019
by the Honorable Robert L. Kugler (“the Restraining Order”) shall remain in full
force and effect until the forfeitable property is released to effect its sale or
liquidation. William Hickman agrees that he will remain responsible for the
prompt payment of property taxes, insurance premiums, and other obligations
of any real property listed in Schedule B and that he is otherwise responsible
for the maintenance of those real properties pending their sale.

       William Hickman waives the requirements of Rules 32.2 and 43(a) of the
Federal Rules of Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The defendant understands
that criminal forfeiture is part of the sentence that may be imposed in this case
and waives any failure by the court to advise him of this pursuant to Rule
11(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. The defendant waives any and all constitutional, statutory, and
other challenges to the forfeiture on any and all grounds, including that the
forfeiture constitutes an excessive fine or punishment under the Eighth
Amendment. It is further understood that any forfeiture of the defendant’s
assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty the Court may impose upon him in
addition to forfeiture.

      William Hickman further agrees that no later than the date he enters his
plea of guilty he will provide a complete and accurate Financial Disclosure
Statement on the form provided by this Office. If William Hickman fails to
provide a complete and accurate Financial Disclosure Statement by the date he
enters his plea of guilty, or if this Office determines that William Hickman has
intentionally failed to disclose assets on his Financial Disclosure Statement,
William Hickman agrees that that failure constitutes a material breach of this
agreement, and this Office reserves the right, regardless of any agreement or
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stipulation that might otherwise apply, to oppose any downward adjustment
for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1, and to seek leave
of the Court to withdraw from this agreement or seek other relief, including the
forfeiture of property not listed on Schedule B hereto.

        It is further understood that the Office will recommend to the Attorney
General that any forfeited money or property be remitted or restored to eligible
victims of the offense, pursuant to 18 U.S.C. § 982(b)(1), 21 U.S.C. § 853(i), 28
C.F.R. Pt. 9, and other applicable law, provided that at the conclusion of the
case the Office believes that this case meets the criteria for restoration or
remission under the applicable Department of Justice regulations and policies.
It is further understood that this Office has authority only to recommend such
relief and that the final decision of whether to grant relief rests with the
Department of Justice, which will make its decision in accordance with
applicable law.

       If William Hickman enters a plea of guilty to Count 1 and Count 28 of the
Indictment in Crim. No. 19-191 (RBK) and otherwise has fully complied with all
of the terms of this agreement as of the date of his guilty plea, including but
not limited to consenting to the entry of the Consent Judgment and Order of
Forfeiture and Stipulation and Orders of Interlocutory Sale of Specific Property,
and if Sara Hickman agrees to and signs the Stipulation and Order of
Settlement Pursuant to 21 U.S.C. § 853(n) (surrendering her interests, on
behalf of herself and her minor children, in the Specific Property and
consenting to its forfeiture), the Stipulations and Order of Interlocutory Sale of
Specific Property, and the separate non-prosecution agreement dated April 30,
2020, then this Office will move to dismiss all charges against Sara Hickman in
the Indictment in Crim. No. 19-191 (RBK) without prejudice. If, after entering
his plea of guilty, William Hickman moves to withdraw his plea or otherwise
violates this agreement, then this Office may refile any and all charges against
Sara Hickman and seek other available remedies.

Rights of this Office Regarding Sentencing

        Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on William Hickman by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of (1) this agreement and (2) the full nature and extent of William Hickman’s
activities and relevant conduct with respect to this case.



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Stipulations

       This Office and William Hickman agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or William Hickman from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict the Government’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

      As set forth in Schedule A, this Office and William Hickman waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 or a motion
under 28 U.S.C. § 2255.

Immigration Consequences

       William Hickman understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses may result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. The
defendant understands that the immigration consequences of this plea will be
imposed in a separate proceeding before the immigration authorities. The
defendant wants and agrees to plead guilty to the charged offenses regardless
of any immigration consequences of this plea, even if this plea will cause his
removal from the United States. The defendant understands that he is bound
by his guilty plea regardless of any immigration consequences of the plea.
Accordingly, the defendant waives any and all challenges to his guilty plea and
to his sentence based on any immigration consequences, and agrees not to
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seek to withdraw his guilty plea, or to file a direct appeal or any kind of
collateral attack challenging his guilty plea, conviction, or sentence, based on
any immigration consequences of his guilty plea.

Other Provisions
      This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
However, this Office will bring this agreement to the attention of other
prosecuting offices, if requested to do so.

      This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against William
Hickman. This agreement does not prohibit the United States, any agency
thereof (including the Internal Revenue Service and Immigration and Customs
Enforcement), or any third party from initiating or prosecuting any civil or
administrative proceeding against William Hickman.

       No provision of this agreement shall preclude William Hickman from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that William Hickman received constitutionally
ineffective assistance of counsel.

No Other Promises

      This agreement constitutes the plea agreement between William Hickman
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

                                            Very truly yours,

                                            CRAIG CARPENITO
                                            United States Attorney



                                            ___________________________________
                                            By:   R. DAVID WALK, JR.
                                                  CHRISTINA O. HUD
                                                  Assistant U.S. Attorneys
APPROVED:



_______________________________
ANDREW C. CAREY
Attorney-in-Charge, Camden
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                    Plea Agreement With William Hickman
                                Schedule A

       1. This Office and William Hickman recognize that the United
States Sentencing Guidelines are not binding upon the Court. This
Office and William Hickman nevertheless agree to the stipulations set
forth herein.

     2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case.

      3. With respect to the offense charged in Count 1 of the
Indictment:

         a. The guideline that applies to the charged conduct is U.S.S.G.
            § 2B1.1, which provides for a base offense level of 7. See
            U.S.S.G. § 2B1.1(a)(1).

         b. Because this offense involved losses totaling more than
            $25,000,000 but not more than $65,000,000, this Specific
            Offense Characteristic results in an increase of 22 levels.
            See U.S.S.G. § 2B1.1(b)(1)(L).

         c. Because this offense was a Federal health care offense
            involving a Government health care program and there was a
            loss of more than $20,000,000 to a Government health care
            program, this Specific Offense Characteristic results in an
            increase of 4 levels. See U.S.S.G. § 2B1.1(b)(7).

         d. William Hickman was an organizer or leader of criminal
            activity that involved five or more participants, which results
            in an increase of 4 levels. See U.S.S.G. ' 3B1.1(a).

      4. With respect to the offense charged in Count 28 of the
Indictment:

         a. The base offense level for Count 28 is the offense level for
            Count 1, the underlying offense from which the laundered
            funds were derived, except that the role in the offense
            adjustment for the underlying offense is not included. See
            U.S.S.G. § 2S1.1, application note 2(C).

         b. One level is added because William Hickman will be
            convicted under 18 U.S.C. § 1956(h) and the penalties for
            that conviction are the same as the object of the conspiracy,
            which was a violation of 18 U.S.C. § 1957. See U.S.S.G. '
            2S1.1(a)(1), (b)(2)(A).

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      5. Pursuant to U.S.S.G. § 3D1.2(c), Counts 1 and 2 are grouped in
a single group because one of the Counts embodies conduct that is
treated as a specific offense characteristic in, or other adjustment to, the
guideline applicable to Count 2. See U.S.S.G. § 2S1.2, Application Note
6.

      6. Pursuant to U.S.S.G. § 3D1.3(a), because Counts 1 and 2 are
grouped together pursuant to U.S.S.G. § 3D1.2(c), the offense level
applicable to the group is the offense level for the highest offense level of
the group.

                    ACCEPTANCE OF RESPONSIBILITY

      7. As of the date of this letter, William Hickman has clearly
demonstrated a recognition and affirmative acceptance of personal
responsibility for the offenses charged. Therefore, a downward
adjustment of 2 levels for acceptance of responsibility is appropriate if
William Hickman’s acceptance of responsibility continues through the
date of sentencing. See U.S.S.G. § 3E1.1(a).

       8. As of the date of this letter, William Hickman has assisted
authorities in the investigation or prosecution of his own misconduct by
timely notifying authorities of his intention to enter a plea of guilty,
thereby permitting this Office to avoid preparing for trial and permitting
this Office and the court to allocate their resources efficiently. At
sentencing, this Office will move for a further 1-point reduction in
William Hickman’s offense level pursuant to U.S.S.G. § 3E1.1(b) if the
following conditions are met: (a) William Hickman enters a plea pursuant
to this agreement, (b) this Office in its discretion determines that William
Hickman’s acceptance of responsibility has continued through the date
of sentencing and William Hickman therefore qualifies for a 2-point
reduction for acceptance of responsibility pursuant to U.S.S.G. §
3E1.1(a), and (c) William Hickman’s offense level under the Guidelines
prior to the operation of § 3E1.1(a) is 16 or greater.

       9. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to William Hickman is 34 (the “agreed
total Guidelines offense level”).

      10. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The
parties further agree that a sentence within the Guidelines range that
results from the agreed total Guidelines offense level is reasonable.

      11. William Hickman knows that he has and, except as noted
below in this paragraph, voluntarily waives, the right to file any appeal,

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any collateral attack, or any other writ or motion, including but not
limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C.
§ 2255, which challenges the sentence imposed by the sentencing court
if that sentence falls within or below the Guidelines range that results
from the agreed total Guidelines offense level of 34. This Office will not
file any appeal, motion or writ which challenges the sentence imposed by
the sentencing court if that sentence falls within or above the Guidelines
range that results from the agreed total Guidelines offense level of 34.
The parties reserve any right they may have under 18 U.S.C. § 3742 to
appeal the sentencing court’s determination of the criminal history
category. The provisions of this paragraph are binding on the parties
even if the Court employs a Guidelines analysis different from that
stipulated to herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal, collateral
attack, writ, or motion claiming that the sentencing court erred in doing
so.

      12. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding
paragraph and to file or to oppose any appeal, collateral attack, writ or
motion not barred by the preceding paragraph.




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                                   SCHEDULE B

1.    Contents of AXA Advisors LLC account no.                in the name of William
      Hickman;

2.    Contents of AXA Advisors, LLC account no.                 in the name of Sara
      Hickman;

3.    Contents of Franklin Templeton Investments account no.                in the
      name of defendant William Hickman for the benefit of Minor Child 1, a minor
      child of William Hickman and Sara Hickman;

4.    Contents of Franklin Templeton Investments account no.                in the
      name of defendant William Hickman for the benefit of Minor Child 2, a minor
      child of William Hickman and Sara Hickman;

5.    Contents of Franklin Templeton Investments account no.                in the
      name of defendant William Hickman for the benefit of Minor Child 3, a minor
      child of William Hickman and Sara Hickman;

6.    $30,340.36 formerly on deposit in Fulton Bank of New Jersey account no.
                  in the name of Boardwalk Medical LLC;

7.    The balance of any retainer paid by or on behalf of William Hickman and/or
      Sara Hickman to Riker Danzig Scherer Hyland & Perretti LLP or Chiesa
      Shahinian & Giantomasi PC that is unearned as of the date of sentencing;

8.    $77,161.00 in lieu of the forfeiture of 3 Jack Sloan Court, Northfield, Atlantic
      County, New Jersey, 08225, held in the names of William Hickman and Sara
      Hickman, Block 40, Lot 18.25, APN 18-00040-0000-00018-25, which shall
      be paid at least six (6) weeks prior to the date of sentencing;

9.    The real property and appurtenances known as 305 Joann Drive, also known
      as 305 Joann Drive, Egg Harbor Township, Atlantic County, New Jersey,
      08234, held in the names of William Hickman, Jr. and Sara Hickman, Block
      6407, Lot 4, APN 08-06407-0000-00004;

10.   The real property and appurtenances known as 5 East Monroe Avenue,
      Linwood, Atlantic County, New Jersey, 08221, held in the name of MJP
      Construction, Block 110, Lot 3.02, APN 14-00110-0000-00003-02;

11.   The real property and appurtenances known as 11 West Edgewood Avenue,
      Linwood, Atlantic County, New Jersey, 08221, held in the name of MJP
      Construction, Block 73, Lot 21, APN 14-00073-0000-00021;

12.   The real property and appurtenances known as 1117-1119 Shore Road,
      Linwood, Atlantic County, New Jersey, 08221, held in the name of MJP
      Construction, Block 73, Lot 20, APN 14-00073-0000-00020; and

13.   All property traceable to such property listed in Paragraphs 1-12 above.

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